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IN THE UNITED STATES DISTRICT COURT

 

DISTRICT OF COLUMBIA

)

UNITED STATES OF AMERICA, )
)

Plaintiff, )

)

v. ) Civil Action No. 1:20-cv-01580-RCL

)

JOHN R. BOLTON, )
)

Defendant. )

)

)

 

DECLARATION OF MICHAEL J. ELLIS

I, Michael J. Ellis, declare the following to be true and correct:

1. I serve as Senior Director for Intelligence Programs at the National
Security Council (NSC). Ihave held this position since March 1, 2020. This declaration
is based on my personal knowledge and information I received in my official capacity. I
submit this declaration in support of the United States Government’s motion for a
preliminary injunction in the above captioned matter.

2 I have worked in a variety of national security positions for more than 12
years. In my current position, I am responsible for planning, directing, and coordinating
the development of policies related to the intelligence activities of the United States
Government. As part of my duties, I support the Assistant to the President for National
Security Affairs in advising the President, representing the NSC in senior-level meetings
with executive departments and agencies, and engaging in negotiations with

representatives of foreign governments on sensitive national security issues. In my
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current position, I am also responsible for, among other things, protecting classified
information against unauthorized disclosure.

os Before starting in my current position, I served from February 2017 to
February 2020 as Special Assistant to the President, Senior Associate Counsel to the
President, and Deputy Legal Advisor at the NSC. Previously, I-served from August 2013
to February 2017 in a number of positions on the staff of the U.S. House Permanent
Select Committee on Intelligence, including as General Counsel of the Committee.

4, Since September 2007, I have served as an intelligence officer in the U.S.
Navy Reserve. I currently hold the rank of Lieutenant Commander, and my assignments
have included the Defense Intelligence Agency, the Joint Staff Directorate for
Intelligence (J-2), the Office of Naval Intelligence, and the U.S. Africa Command
Intelligence Directorate (J-2), where I received security and foreign disclosure training.

5. The National Security Act of 1947, as amended, established the NSC to
advise the President with respect to the integration of domestic, foreign, and military
policies relating to the national security. Under National Security Presidential
Memorandum (NSPM)-4, the Assistant to the President for National Security Affairs and
the staff of the NSC advise the President, convene meetings to develop and implement
national security policies by executive departments and agencies, and help coordinate the
national-security-related policies of the United States.

6. My current position and duties, including policy responsibilities related to
the intelligence activities of the United States Government, necessarily require me to
have extensive knowledge about the full range of United States Government intelligence

activities, as well as related confidential deliberations on matters of national security and
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foreign policy, that is more comprehensive than the knowledge of most other NSC
officials. Additionally, I routinely attend senior-level meetings related to national
security and foreign policy decisions, including meetings of the Principals Committee
and Deputies Committee convened under NSPM-4; convene Policy Coordination
Committee meetings on intelligence activities related to national security and foreign
policy decisions; and provide advice to the Assistant to the President for National
Security Affairs and other senior White House officials on national security and foreign
policy decisions. As such, I am aware of intelligence information and internal foreign
policy deliberations and developments that others of the NSC staff are not and have a
broader base of knowledge than others to identify and determine information that is
classified.

7. Most others of the NSC staff do not have access to the same quantity of
classified intelligence reporting that I do. Neither do most NSC staff routinely attend
senior-level meetings related to national security and foreign policy decisions, as I do.

8. The President’s Order of December 29, 2009 delegated TOP SECRET
Original Classification Authority to the Assistant to the President for National Security
Affairs. Under a delegation of authority from the Assistant to the President for National
Security Affairs dated March 29, 2017, I am a TOP SECRET Original Classification
Authority. This means that I am authorized to classify information up to the TOP
SECRET level. I have held Original Classification Authority since March 1, 2020. I can
also assess the current and proper classification of information at the TOP

SECRET/Sensitive Compartmented Information (SCI) level.
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9. My understanding is that another Original Classification Authority within
the NSC staff, Ms. Ellen Knight, had reviewed the draft manuscript submitted by John
Bolton (Author) and had been engaged in an ongoing process with the Author regarding
the need to remove classified information from the draft manuscript. I understand that
Ms. Knight believed that the manuscript as revised had removed all classified
information.

10. After Ms. Knight completed her review of the draft manuscript, the
Assistant to the President for National Security Affairs reviewed the manuscript and
concluded that it still appeared to contain classified information. For this reason, the
Assistant to the President for National Security Affairs asked me, as the Senior Director
for Intelligence Programs, to review the manuscript.

11. On Saturday, May 2, 2020, I began my review of the draft manuscript that
reflected Ms. Knight’s latest guidance to the Author.

12. I completed my initial review of the draft manuscript on Tuesday, June 9,
2020.

13. LT understand that neither Ms. Knight nor her staff has provided the Author
or his counsel written authorization to publish the manuscript, and that the prepublication
review process remains ongoing.

14. __ Based on my professional training and experience, I have determined that
the manuscript in its present form contains certain passages—some up to several
paragraphs in length—that contain classified national security information.

15. Based on my professional training and experience, it is my opinion that

certain passages of the manuscript, if made public, reasonably could be expected to cause
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damage, serious damage, or exceptionally grave damage to the national security of the
United States. In this Declaration, I describe the regulatory basis for classifying national
security information. In a classified declaration submitted with this declaration, solely
for ex parte, in camera review, | describe six examples of passages in the manuscript that
require protection under the national security information classification system, and the
reasons for classifying each example. Because the prepublication review of the
manuscript remains ongoing, these examples are not an exhaustive list of the passages in
the manuscript that contain classified information. These descriptions of the examples, as
well as my reasons for determining that they are classified, are being provided in a
classified declaration because to disclose them on the public record would expose
classified information, and, as a result, damage national security.

16. Section 1.1(a) of Executive Order 13526, “Classified National Security
Information,” provides that information may be originally classified if: (1) an original
classification authority is classifying the information; (2) the information is owned by,
produced by or for, or is under the control of the United States Government; (3) the
information falls within one or more of the categories of information listed in section 1.4
of the Executive Order; and (4) the original classification authority determines that the
unauthorized disclosure of the information reasonably could be expected to result in
damage to the national security, and the original classification authority is able to identify
or describe the damage.

17. Section 1.4 of the Executive Order provides that information shall not be

considered for classification unless it pertains to one or more of eight specifically
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enumerated categories of information. The examples described in my classified
declaration fall within the following categories of section 1.4:
(a) military plans, weapons systems, or operations;
(b) foreign government information;
(c) intelligence activities (including covert action), intelligence sources or
methods, or cryptology; and
(d) foreign relations or foreign activities of the United States, including
confidential sources.

18. Section 1.1(d) of the Executive Order provides that the unauthorized
disclosure of foreign government information is presumed to cause damage to the
national security.

19. | The examples from the manuscript described in my classified declaration
are all classified at the SECRET, TOP SECRET, or TOP SECRET/SCI level. The
manuscript also contains information classified at the CONFIDENTIAL level. Section
1.2 of Executive Order 13526 describes classification at the CONFIDENTIAL level as
information that “the unauthorized disclosure of which reasonably could be expected to
cause damage to the national security,” classification at the SECRET level as information
that “the unauthorized disclosure of which reasonably could be expected to cause serious
damage to the national security,” and classification at the TOP SECRET level as
information that “the unauthorized disclosure of which reasonably could be expected to
cause exceptionally grave damage to the national security.” Intelligence Community
Directive 703 defines SCI as “a subset of CNI [classified national intelligence]

concerning or derived from intelligence sources, methods or analytical processes that is
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required to be protected within formal access control systems established by the DNI
[Director of National Intelligence].”

20. The information identified in the examples from the manuscript is owned
by the United States Government. Moreover, it is information specifically covered by the
nondisclosure agreements signed by the Author, which I have reviewed. The Standard
Form 312, Classified Information Nondisclosure Agreement states, in relevant part, that
“T understand that all classified information to which I have access or may obtain access
by signing this Agreement is now and will remain the property of, or under the control of
the United States Government unless and until otherwise determined by an authorized
official or final ruling of a court of law.” The Form 4414, Sensitive Compartmented
Information Nondisclosure Agreement states, in relevant part, that “In consideration of
being granted access to SCI and of being assigned or retained in a position of special
confidence and trust requiring access to SCI, I hereby agree to submit for security review
by the Department or Agency that last authorized my access to such information or
material, any writing or other preparation in any form, including a work of fiction, that
contains or purports to contain any SCI or description of activities that produce or relate
to SCI or that I have reason to believe are derived from SCI, that I contemplate disclosing
to any person not authorized to have access to SCI or that I have prepared for public
disclosure. I understand and agree that my obligation to submit such preparations for
review applies during the course of my access to SCI and thereafter, and I agree to make
any required submissions prior to discussing the preparation with, or showing it to,
anyone who is not authorized to have access to SCI. I further agree that I will not

disclose the contents of such preparation with, or show it to, anyone who is not
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authorized to have access to SCI until I have received written authorization from the
Department or Agency that last authorized my access to SCI that such disclosure is
permitted.” Based on my review, the draft manuscript contains information subject to

both the Standard Form 312 and the Form 4414 signed by the Author.

21. All of the examples described in my classified declaration remain
classified.
22. In summary, it is my judgment that certain passages in the draft

manuscript in its present form are properly classified in accordance with E.O. 13526 and,
if disclosed, will damage the national security of the United States.

23. Attached as Exhibit M is a true and correct copy of a letter I sent to the
Author, dated June 16, 2020. The letter states that “your manuscript in its current form is
still not approved for public release and will not be approved until the pre-publication
review process is complete. The manuscript still contains classified information. The
review process required by the agreements you signed has not been completed.” I refer

the Court to Exhibit M for a complete and accurate statement of its contents.

I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing

is true and correct.

Executed this 17th day of June, 2020 in the City of Washington, District of Columbia.

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Michael J. Ellié

 
